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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

 TROY BROOKS, as Administrator for §
 the  ESTATE     OF MARGARITA §
 VICTORIA BROOKS,                  §
                                   §
      Plaintiff                    §
                                   §
 v.                                §                             Civil Action No. 4:21-cv-00862-O
                                   §
 THE CITY OF ARLINGTON, TEXAS,     §
                                   §
      Defendant.                   §


                                    JOINT STATUS REPORT


        NOW COME Plaintiff Troy Brooks, as Administrator for the Estate of Margarita Victoria

Brooks, and Defendant City of Arlington, and in compliance with this Court’s December 16, 2022,

Order (ECF 35), provide the Court with the current status of the case as regards settlement:

                                             SUMMARY

        The case has been settled by agreement of the parties. The parties have requested

appointment of an attorney ad litem. The parties have prepared draft documents for the ad litem to

review to facilitate the prompt resolution of this matter and provide for the children of Margarita

Victoria Brooks, the decedent.

                                          JOINT REPORT

        The Court’s order (ECF 35) directs the parties to prepare settlement documents and present

them to the Court. The Court’s order also directs the parties to update the Court regarding those

preparations. The parties have drafted preliminary documents, and have, contemporaneous with

this joint report, filed a motion requesting that the Court appoint an attorney ad litem to oversee

the interests of the beneficiaries of the settlement, i.e., the decedent’s children.
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Respectfully submitted,                        Respectfully submitted,

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